Case 2:24-cv-00199-KS-MTP    Document 1-2   Filed 12/23/24   Page 1 of 9




                            EXHIBIT "A"
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 2 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 3 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 4 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 5 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 6 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 7 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 8 of 9
Case 2:24-cv-00199-KS-MTP   Document 1-2   Filed 12/23/24   Page 9 of 9
